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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

MICHIGAN DEPARTMENT OF
ENVIRONMENTAL QUALITY,
                                       No. 1:18-cv-00039-JTN-ESC
      Plaintiff,
                                       HON. JANET T. NEFF
v.
                                       MAG. ELLEN S. CARMODY
WOLVERINE WORLD WIDE, INC.,
                                       STIPULATION AND ORDER
      Defendant.                       REGARDING SEPTEMBER 16, 2019
                                       JOINT FILING
and

PLAINFIELD CHARTER TOWNSHIP
and ALGOMA TOWNSHIP,

      Intervening Plaintiffs,

v.

WOLVERINE WORLD WIDE, INC.,

      Defendant.
                                   /

WOLVERINE WORLD WIDE, INC.,

      Third-Party Plaintiff,

v.

3M Corporation,

      Third-Party Defendant.
                                   /
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Brian J. Negele (P41846)                       Madelaine C. Lane (P71294)
Danielle Allison-Yokom (P70950)                Janet L. Ramsey (P63285)
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 STIPULATION AND ORDER REGARDING SEPTEMBER 16, 2019 JOINT
                         FILING

      Pursuant to this Court’s April 5, 2019 Order and July 26, 2019 Order,

Plaintiff Michigan Department of Environmental Quality (MDEQ), Defendant

Wolverine World Wide, Inc. (Wolverine), Intervening Plaintiffs Algoma and

Plainfield Townships (the Townships), and Third Party Defendant 3M Company

(3M), hereby respectfully submit the following stipulation and proposed order

regarding the September 16, 2019 Joint Filing:

      WHEREAS, this Court’s April 5, 2019 Order required that the parties not

later than September 16, 2019 file a joint notice “setting forth the status of the case

and the parties’ discovery and advising the Court whether: (1) the discovery

conducted is sufficient to proceed with dispositive motion practice, and if so, the

recommended next step, e.g., renewed pre-motion conference requests; or (2)

whether further discovery or proceedings are necessary, and if so, the parties’

recommendations” (ECF No. 62);

      WHEREAS, this Court’s July 26, 2019 Order also required the parties to file

a Joint Notice no later than September 16, 2019 that indicates “the status of the

House Street area remedy determination, including settlement or mediation

efforts/results” (ECF No. 107);

      WHEREAS, this Court’s July 26, 2019 Order also required that all parties

“participate in structured, confidential settlement discussions or confidential

mediation” under terms set forth by the Court;




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      WHEREAS, the mediation required by the Court’s July 26, 2019 Order is

scheduled to commence the week of September 16, 2019; and

      WHEREAS, the information that the Court requested to be included in the

September 16, 2019 Joint Notice will not be available until after mediation is

commenced.

      The Parties hereby agree and stipulate that the Joint Notice required under

the April 5, 2019 and July 26, 2019 Orders shall be filed on September 30, 2019

instead of September 16, 2019.

Dated: September 13, 2019

/s/ Danielle Allison-Yokom                    /s/ Scott M. Watson
Polly A. Synk (P63473)                        John V. Byl (P35701)
Brian J. Negele (P41846)                      Madelaine C. Lane (P71294)
Danielle Allison-Yokom (P70950)               Janet L. Ramsey (P63285)
Assistant Attorneys General                   James Moskal (P41885)
Attorneys for Plaintiff                       R. Michael Azzi (P74508)
                                              Scott M. Watson (P70185)
                                              Warner Norcross & Judd LLP
                                              Attorneys for Defendant/Third-Party
                                              Plaintiff

/s/ Douglas W. Van Essen                      /s/ Richard F. Bulger
Douglas W. Van Essen (P33169)                 Daniel L. Ring
Elliot J. Gruszka (P77117)                    Michael A. Olsen
Silver & Van Essen, P.C.                      Richard F. Bulger
Attorneys for Intervening Plaintiffs          Timothy S. Bishop
                                              Mayer Brown
                                              Attorneys for Third-Party Defendant 3M
                                              Corporation, Inc.

      IT IS SO ORDERED.


Dated:September 16 2019
       ___________,                               /s/ Janet T. Neff
                                                ____________________________________
                                                HON. JANET T. NEFF



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